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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION




United States of America,
      Plantiff,

v                                                        Case No. 11-20178-03
                                                         HON. Patrick J. Duggan

Pinkie Lewis,
      Defendant

________________________/

               ORDER AMENDING CONDITIONS OF BOND

This matter having come before the Court and the Court being fully advised hereby
amends the conditions of bond to include:

1-Furnish all telephone number’s, email accounts and any other social networking
account information to Pretrial Services
2-Global Positioning Tether (GPS)
3-May leave for Work, school, medical emergencies, court appointments, attorney
visits, church services on Sunday’s and to report as directed to Pretrial Services
4-Not to have any access to personal information of patients through current or
future employment


            SO ORDERED.


                                s/Patrick J. Duggan
                                United States District Judge

Dated: September 28, 2011
